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     Tim Warriner (SB#166128)
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2    Sacramento, CA 95814
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3
     Attorney for defendant,
4    Joel David Clark
5
                         UNITED STATES DISTRICT COURT
6
                  FOR THE EASTERN DISTSRICT OF CALIFORNIA
7

8                                       ) Case No. CRS 10-193 EJG
     United States of America,          ) WAIVER OF PERSONAL APPEARANCE
9                                       ) (AMENDED)
                Plaintiff,              )
10                                      )
         vs.                            )
11                                      )
     Joel David Clark,                  )
12                                      )
                Defendant               )
13

14
          The undersigned defendant, Joel David Clark, hereby waives
15
     the right to be present in person in open court, including when
16
     the case is ordered set for trial and when a continuance is
17
     ordered.
18
          Defendant understands that he is required to appear at any
19

20   pretrial motion hearings, the trial readiness conference, and

21   trial itself, including motions in limine and jury selection.

22        The undersigned defendant hereby requests the court to
23   proceed during every absence of his which the court may permit
24
     pursuant to this waiver, and hereby agrees that his interests
25
     will be deemed represented at all times by the presence of his
26

                                         1
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     attorney the same as if the defendant himself were personally
1
     present in court, and further agrees to be present at any time
2

3    it is ordered by the court.

4         The defendant further acknowledges that he has been

5    informed of his rights under Title 18 U.S.C. §§ 3161-3174 (The
6    Speedy Trial Act) and authorizes his attorney to set times and
7
     delays under that Act without his personal presence.
8

9
     DATED: August 26, 2010           /s/ Joel David Clark1, Defendant
10

11

12        I concur in Mr. Clark’s decision to waive his presence at

13   future proceedings.

14

15
     DATED: August 26, 2010           /s/ Tim Warriner, Attorney for
16                                    Defendant, Joel David Clark
17

18   IT IS SO ORDERED.
19
     DATED: August 26, 2010           _/s/____________________________
20
                                      EDWARD J. GARCIA
21                                    UNITED STATES DISTRICT JUDGE

22

23

24
     1
25    Pursuant to local EFC procedure, attorney will maintain an
     originally executed copy.
26

                                         2
